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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

                                  CASE NO. 22-CR-00012-WJM

 UNITED STATES OF AMERICA

 vs.

 LAWRENCE RUDOLPH
 ________________________________/

                   LAWRENCE RUDOLPH’S REPLY TO RESPONSE
                 TO MOTION FOR RELEASE UNDER 18 U.S.C. § 3142(i)

       Following the death of Dr. Rudolph’s late wife while the couple was visiting Africa, the

Zambian government investigated and ruled the death accidental. The life insurance companies the

government calls “victims” paid on the policies. Refusing to accept this, Colorado-based FBI agents

spent five years crisscrossing the country and traveling to Africa to come up with a nefarious

narrative they hope to present to a Denver jury. Extensive travel was necessary because nothing

about this case has any real connection to Colorado. Unsurprisingly, this profligate exertion has

yielded a circumstantial case built entirely on the surmise of former law enforcement agents, who

will testify about what they infer could have happened. Recognizing the weakness of its case, the

government sought and obtained Dr. Rudolph’s confinement in Denver, 865 miles away from the

Rudolph home in Phoenix and thousands of miles away from their children’s homes in Miami and

Pittsburgh. To achieve this, they deliberately made no effort to apprehend Dr. Rudolph until he

traveled to Mexico. This artifice supposedly voids Dr. Rudolph’s constitutional venue rights. The

present question is only whether Dr. Rudolph’s contrived isolation during a global pandemic is

consistent with the presumption of innocence and the ability to prepare for a fair trial.
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       The government’s response never squarely addresses whether pre-trial detention is, given the

pandemic and the government’s unprecedented machinations, consistent with ensuring that Dr.

Rudolph has a full and fair opportunity to mount a meaningful defense. Instead, it conflates three

separate questions, engendering confusion. Specifically, the government fails to distinguish between

whether detention is authorized, whether detention is appropriate, and whether venue is established.

       The response is further flawed for pretending that indicting this murder case in Colorado was

perfectly routine because there is a “Colorado victim.” DE35:10–11. The government refers not to

Bianca Rudolph, but to a foreign insurance conglomerate with a Colorado office. Mrs. Rudolph had

no connection to Colorado. The FBI harassed the other victims, her children, for years after their

mother’s death and subpoenaed them to a Colorado grand jury after they repeatedly asked to be let

alone to grieve in peace. The government’s dogged concern for a multi-national insurance company

belies its contention that confining Dr. Rudolph in Colorado does not unfairly hamper his defense.

I.     The government’s unprecedented effort—during an ongoing and accelerating
       pandemic—to create venue in a district with no connection to the primary charge
       warrants temporary release from custody to prepare to answer the charges.

       The government does not deny that it contrived to manufacture venue over the principal

charge with the aim of crippling Dr. Rudolph’s ability to defend himself. See DE35:10–11. Nor

could it, given the agent’s testimony at the detention hearing:

       Q. He wasn’t arrested at the Phoenix airport, was he?
       A. He was not.
       Q. Why not?
       A. Because we wanted the case to be tried in Denver with the primary case agent.
       Q. Okay. So the only way to have it tried in Denver was to wait for him to travel
       overseas and have him appear for the first time here in Denver, correct?
       A. That is my —
              [Prosecution’s overruled objection omitted.]



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       Q. The only reason we are here in Denver is because you waited to arrest him in
       Mexico and flew him to Denver where he could be arrested, correct?
       A. We did arrest him, or detain him in Cabo, so that we could bring him directly back
       to Denver, yes.
       Q. In fact, I mean, you had determined much earlier that you were going to proceed
       with a murder charge, correct?
       A. We had made the —
               [Prosecution’s overruled objection omitted.]
       A. We were working to the point — working up to the point of a murder charge, yes.
       Q. And you had determined prior to the date that he traveled to Cabo that you were
       going to proceed with a murder case, right?
       A. Yes.
       Q. But you waited because you wanted venue in Denver, correct?
       A. Correct.

DE37:119–20 (emphasis added). The Constitution’s two venue provisions are squarely aimed at

overbearing tactics to sequester defendants in remote places. See United States v. Cabrales, 524 U.S.

1, 6 (1998) (“Proper venue in criminal proceedings was a matter of concern to the Nation’s

founders.”). This Court can best protect Dr. Rudolph’s rights by affording the temporary release

Congress has expressly authorized for situations like this one, where the government contrived to

manufacture venue in a distant district for its own advantage during an accelerating pandemic.

       While the government now claims to be gravely concerned that Dr. Rudolph will abscond,

the facts betray its disingenuousness. Dr. Rudolph was in the country for years after the tragedy

underlying the indictment—including on the very day he was arrested. Precisely because he never

tried to flee and always returned from trips abroad, agents let him board an international flight,

passport and return ticket in hand. They admittedly had ample chance to arrest him in the United

States, but their case is weak. So, they lay in wait for weeks or months, plotting to gain an unfair

advantage by gambling on a novel and dubious reading of the statute setting venue for extraterritorial

federal crimes in the district where the accused “is arrested or is first brought.” 18 U.S.C. § 3238.



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       Congress, of course, never contemplated that federal prosecutors and agents would

deliberately fail to arrest a suspected criminal in the United States and instead wait for him to cross

the border for a holiday, claiming they could then choose any district. The government’s complaint

that Dr. Rudolph “has not cited a single case,” DE35:8, holding that its reading of the statute is

flawed underscores how unprecedented its conduct is. Not only did Congress never imagine federal

authorities would engage in such tactics but apparently no other prosecutors have ever even tried.

       The government’s justification for the irregular venue is that Count 2 “involves [a] Colorado

victim.” DE35:1. This is unconvincing. There is not really a “Colorado victim,” and Colorado has

no real interest in the case. Upon information and belief, this purported victim is a Canadian

insurance conglomerate operating on three continents and based in Winnepeg, Manitoba, Canada.

It is apparently the only one of five insurance companies from which the Rudolphs bought policies

with an office in Colorado. Whether venue over Count 2 is technically lawful is also irrelevant to

this motion. This is a murder case, not a simple mail-fraud case. The lack of an adequate justification

for bringing it in a place with no connection to the alleged act, the decedent, or the accused is

material to whether Dr. Rudolph can prepare for trial. It suggests that the government orchestrated

remote detention to compensate for its weak case and gain a potentially decisive advantage.

       Preparing a murder trial during a pandemic while the accused is in custody in a distant place

where no one he knows can visit him without taking a long flight is so difficult as to render the trial

fundamentally unfair. The government claims the defense’s concerns are overblown and minimizes

COVID’s impact on trial preparation because in its view vaccines have already practically ended the

pandemic. DE35:5. However, the prosecutors themselves declined to physically appear for the

detention hearing last week because of the pandemic. Additionally, the Court can judicially notice


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that vaccines appear ineffective against the Omicron variant: “A growing body of preliminary

research suggests the Covid vaccines used in most of the world offer almost no defense against

becoming infected by the highly contagious Omicron variant.” See “Most of the World’s Vaccines

Likely Won’t Prevent Infection From Omicron.” New York Times (19 Dec. 2021); see also Centers

for Disease Control and Prevention, “Omicron Variant” (20 Dec. 2021) (“CDC expects that anyone

with Omicron infection can spread the virus to others, even if they are vaccinated or don’t have

symptoms.”). These reports do not take into account the squalid conditions facing prisoners during

the pandemic. Dr. Rudolph has been wearing the same cloth mask for 10 days. He is not provided

hand sanitzer. He is on lock-down 23 hours a day. The phones he uses to speak with counsel and

family are not disinfected between calls. The government’s claim that “anxiety about COVID was

at its height” in early 2020, DE35:6, is not true. See “Some metro Denver courts suspend jury trials

— again — due to COVID-19,” Denver Post (3 Jan 2022) (explaining that for the first time since

the beginning of the pandemic, many Colorado courts have suspended jury trials ); “Many Colorado

courts suspend jury trials due to COVID,” 9News (3 Jan 2022) (explaining that “trials in at least nine

judicial district in Colorado” have been impacted by COVID).

       Furthermore, the government’s generalizations about vaccinations, DE35:5, do not hold up

against Dr. Rudolph’s specific maladies. Dr. Rudolph, who is 67, has a documented serious

congenital heart condition. He depends on a Medtronic pacemaker and has had one implanted in

2000, 2010, and 2020. He has had multiple major cardiac surgeries, including two aortic valve

replacements in 2006 and 2021 and one tricuspid valve repair. Dr. Rudolph relies on monitoring his

pacemaker and 20-year-old leads through a Medtronic application on his cellular phone. Failure of

any one of the leads, without immediate medical attention, could result in death. His doctors have


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prescribed him several medications, including Telmistartan for chronic high blood pressure, which

the prison has replaced with an ineffective “substitute”; the beta-blocker Metoprolol Succinate, for

his heart conditions and blood pressure; and Repatha injections for high cholesterol.

       The government took years to prepare its circumstantial case. It is only fair that the defense

be afforded minimal consideration to answer the charges and that Dr. Rudolph be placed under house

arrest during trial preparation. Notwithstanding the government’s surmise, “phone and video

conference technology” is totally ineffective for answering the charges leveled in this case. DE35:6.

As a proffer, counsel submits the attached Exhibit detailing the very real challenges entailed in

meeting with Dr. Rudolph for even the most basic purpose. Dr. Rudolph’s sequestration will, by

design, make impossible the protracted, constant, intensive preparation this case requires.

       The government further assumes that the statute’s requirement that the accused remain “in

the custody of a United States marshal or another appropriate person” means the physical custody

of a law enforcement officer. DE35:2. The government ignores that GPS monitoring is court-

supervised and that home-detention enforced by such technology amounts to custody. DE35:3. It also

ignores that courts understand the statute to permit house arrest whenever necessary to ensure each

defendant can prepare to answer the charges against him. See, e.g., United States v. Weigand, 492

F. Supp.3d 317, 319–20 (S.D.N.Y. 2020) (relying in part on the pandemic and § 3142(i) to release

a defendant to an apartment watched by private security guards because “it seems almost certain that

the facility would not be able to provide the kind of full access needed here for proper preparation.”);

United States v. Stephens, 447 F. Supp.3d 63, 68 (S.D.N.Y. 2020) (holding that “family members

may constitute ‘appropriate persons’ where the defendant is released to relatives and placed under

house arrest” and releasing accused “to the custody of his mother ... subject to ... electronic location


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monitoring as directed by the Probation Department.”); United States v. Chandler, No. 1:19-CR-867

(PAC), 2020 WL 1528120, at *3 (S.D.N.Y. Mar. 31, 2020) (“Chandler may be released on his own

signature and to his home in Brooklyn with his mother ....”).

II.    There are viable alternatives to detention pending trial preparation.

       The motion suggested that Dr. Rudolph be confined to his house in Phoenix with Lori

Milliron, with whom he has lived for three years. However, the government speculates that “she is

perhaps the most likely person to flee with the defendant to avoid the case.” DE35:3. There is no

basis for supposing that Ms. Milliron would commit a federal crime just to keep a boyfriend. But,

to assuage any concerns, Ms. Milliron will surrender her passport. If that does not suffice to reassure

the Court, Dr. Rudolph is willing to hire private security guards, as the Weigand court approved.

       Alternatively, Dr. Rudolph could be confined to his son’s condominium in Miami. Julian

Rudolph is a Florida lawyer. He and his sister have agreed to put up their assets to secure their

father’s release. Julian is not going to risk both their assets and disbarment to aid a flight from

justice. This alternative would have the added benefits of Dr. Rudolph living with an officer of the

court and being close to his legal team.

       The government is incorrect that temporarily releasing Dr. Rudolph “would undermine the

purposes of the detention statute.” DE35:2. As the Tenth Circuit recently explained, relief under §

3142(i) presupposes that a detention order has been lodged. “When a defendant is subject to a

detention order, the judicial officer may issue a ‘subsequent order’ temporarily releasing an

individual in custody ‘to the extent that the judicial officer determines such release to be necessary

for the preparation of the person’s defense or for another compelling reason.’” United States v.




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Robertson, 852 F. App’x 331, 336 (10th Cir. 2021) (quoting § 3142(i)); accord United States v.

Rosa-Calderon, No. 20-CR-036-WJM, 2020 WL 4227477 at *3 (D. Col. July 23, 2020).

       In Rosa-Calderon, a drug conspiracy prosecution with direct video evidence of criminal acts,

this Court denied Wesley Pappas’ motion for temporary release because (1) Pappas’ claimed lung

problem was unsupported by evidence, unlike Dr. Rudolph’s congenital heart problems, (2) “FCI

Englewood ha[d] only 7 cases of the virus,” unlike the Downtown Detention Center where COVID

is running rampant, and (3) the government made significant concessions to the defense. See id. at

*5. Conversely, in this case, the government has taken the unsupported position that the pandemic

is no longer a problem. Far from making any concessions, it deliberately arranged Dr. Rudolph’s

arrest to put hundreds of miles between him and everyone he knows. Section 3142(i) is made for

cases like this one. Releasing Dr. Rudolph temporarily is necessary to counteract the prosecution’s

effort to gain an unfair edge at the expense of Dr. Rudolph’s rights and his health.

III.   The government is incorrect that the filing of this motion implies anything about
       whether the pre-trial detention order will be appealed or venue will be challenged.

       The instant question is whether the government calculated to incarcerate a 67-year-old

defendant with cardiac problems far from his home, his children, and everyone he knows to

demoralize him to the point where is unable to cooperate in preparing his own defense and to erect

as many practical barriers as possible to defense counsel’s work. The government assumes that Dr.

Rudolph “is conspicuously not appealing” the detention order. DE35:1. That assumption is wrong.

In this motion, Dr. Rudolph assumes but does not concede that the magistrate judge’s detention

ruling was correct. Now that the hearing transcript is available, Dr. Rudolph will appeal the detention

order. Likewise, the prosecution’s claim to be unable to imagine why “trial here in Colorado would



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be any more difficult than trial in almost any other jurisdiction” misses the point. DE35:8. The

present issue is not where the trial takes place. It is whether, in light of Dr. Rudolph’s health, the

global pandemic, and the government’s machinations, the Court must intervene to ensure that Dr.

Rudolph is not convicted only because his rights were trampled and his health disregarded.

       That said, several facts that came out during the detention hearing are relevant not only to

whether venue is proper but also to whether the government’s true motive in manufacturing venue

is to cripple an otherwise viable defense by making trial preparation unduly onerous. Dr. Rudolph

has known he is under investigation for years, as the FBI made no secret about it. Agents demanded

that his children answer painful questions about their mother’s demise, surprising one at his home

early on a Sunday morning and serving both with subpoenas at their offices to embarrass them

among their co-workers. Yet, these agents refused to speak to Dr. Rudolph’s counsel, who would

have shared exculpatory information, much of which the agents did not know. For example, the

supposed financial motive for the alleged crime is undermined by their undercounting of his assets,

which excluded his dental practice in Pennsylvania, worth $8 million. DE37:115, 147. A post-nuptial

agreement, which the government did not know about, further undermines the supposed motive; a

divorce would not have been as costly as the agents supposed. DE37:117. The agents’ belief that Dr.

Rudolph cremated his wife’s remains to destroy evidence was proven false as her will expressly

directed cremation. DE37:84–89. Additionally, the government’s contention that Dr. Rudolph

plotted to “escape rigorous scrutiny and maintain control of evidence,” DE35:1, is flatly false. The

Zambian investigators, who ruled the death accidental, maintained that Dr. Rudolph did nothing to

improperly influence the investigation or to obstruct justice.




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        The government is incorrect that Dr. Rudolph contemplates indefinite release. Based on the

 discovery the government has disclosed to date, counsel estimates that 180 days will be needed to

 prepare this case, which the government has been preparing for years. The government had

 absolutely no qualms about letting Dr. Rudolph remain at large for as long as it took to manufacture

 venue in Colorado:

        Q. So you must not have thought he was a danger to the community between the time
        you decided to go forward with the case and when he was arrested. You let him stay
        out during that time, right?
        A. We did allow him to stay out during that time.

 DE37:120. There is thus no legitimate obstacle under these singular circumstances to the Court

 allowing Dr. Rudolph to remain on house arrest for a reasonable period to prepare a defense.

                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        This motion was filed on January 11, 2022, through CM/ECF.



                                                      _______________________
                                                      DAVID OSCAR MARKUS



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